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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                      §
                                              §
                                              §
                                              §
VS.                                           §   CRIMINAL NO. H-10-258-4
                                              §
                                              §
                                              §
PATRICK LANIER                                §

                                       ORDER

       Defense counsel’s motion to withdraw as retained counsel and to be reappointed under

the CJA is granted. (Docket Entry No. 126).

             SIGNED on May 20, 2011, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
